Case: 1:20-mc-00002-SNLJ Doc. #: 1 Filed: 01/14/20 Page: 1 of 9 PagelD #: 1

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MISSOURI

NIANTIC, ENC., )
)

Plaintiff, )

)

v. } Case No.: 19-cv-03425-JST

)

GLOBAL+-+, et al., )
)

Defendants. )

)

)

 

MOTION TO QUASH SUBPOENA

Nonparty Matthew Johnson hereby moves to quash ot modify the subpoena served on
him by Niantic, Inc. because the subpoena fails to allow a reasonable time to comply, subjects
Mr. Johnson to an undue burden, and requires Mr. Johnson to disclose a trade secret and other
confidential development and commercial information. In support of this motion, Mr. Johnson
states as follows.

1. On January 8, 2020, Mr. Johnson received Niantic’s subpoena for documents and
testimony. A true and correct copy of the subpoena is attached hereto as Exhibit A.

2. The subpoena states that Mr. Johnson is required to produce documents
responsive to the requests in the subpoena on or before J anuary 9, 2020.

De The subpoena requests documents relating to a wide range of software programs
and individuals.

4, Despite the subpoena’s response date, Niantic’s counsel represented to Mr.
Johnson’s counsel that Niantic would deem Mr. Johnson’s compliance with the subpoena as

sufficient if he produced responsive documents on or before Tuesday, January 14, 2020.

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4, The subpoena states that Mr. Johnson’s deposition was to take place on December
17, 2019, but it also requests that Mr. Johnson contact Niantic to “arrange a mutually-agreeable

time and place for your deposition testimony.”

6. Under Fed. R. Civ. P. 45(4)(3)(A), this court is required to quash or modify
Niantic’s subpoena because it fails to allow a reasonable time to comply and subjects Mr.

Johnson to an undue burden.

7. Under Fed. R. Civ. P. 45(d)(3)(B), this Court should also quash the subpoena
because the subpoena requires Mr. Johnson to disclose “a trade secret or other confidential
research, development, or commercial information.”

8. Additional reasons for quashing the subpoena are set forth in Mr. Johnson’s
Suggestions in Support of this motion, which are filed concurrently herewith.

WHEREFORE, nonparty Matthew Johnson respectfully requests that this Court quash or
modify the subpoena Niantic, Inc. served on him and for such other relief as this Court deems
appropriate.

Dated: January 14, 2020

Respectfully submitted,

‘si John F. Scott

John F, Scott MO Bar #46087MO
THE ScoTT LAW Group, LLC

357 North Main Street

Poplar Bluff, MO 63901

Tel: 573-785-4688

Email: jfs@semo.net

Attorney for Nonparty Matthew Johnsen
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CERTIFICATE OF SERVICE

 

The undersigned hereby certifies that a copy of the foregoing has been filed electronically on
the 14th day of January, 2020. Notice of this filing will be sent to the all parties by operation of

the Court’s electronic filing system. Parties may access this filing through the Court’s electronic
filing,

/s/ John F. Scott
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DOOLINICG le 3190 Porter Drive Gt +1.650.838,4300
ARE OE SSR See eer Palo Alto, CA 94304-1212 @ +1.650,896.4350

PerkinsCole.cam
December 31, 2019 Julie E, Schwartz

JSchwartz@perkinseoie.com
D. +1.650.838.4490
F, -+1,650.838.4690

BY EMAIL

Maithew Johnson
matt}8290@email.com

Re: Niantic, Inc, vy, Global, et al,
U.S.D.C, for the Northern District of California, Case No. C19-03425-IST

Deat Mr, Johnson:

We represent plaintiff Niantic, Inc, in the above-referenced matter, Pursuant to Rule 45 of the
Federal Rules of Civil Procedure, enclosed is a subpoena for documents and for deposition testimony,

The enclosed subpoena specifies that the documents described in Attachment A must be produced
by January 9, 2020. You can send these documents to us either electronically to
KateSmith@perkinscoie.com or, alternatively, via hard copy to First Legal c/o Ferrell Court Services
LLC, 623 State Hwy H, Sikeston, MO 63801. Our office will reimburse you for all reasonable photocopy
charges associated with your compliance if you choose the hard copy method,

The enclosed subpoena also specifies that the deposition testimony will take place on January 17,
2020 at 2781 N. Westwood Blvd., Poplar Bluff, MO 63901.

H'you have any questions regarding your duties with respect to this subpoena, please do not
hesitate to contact me.

Very truly yours,
Chutes % ” 4 nr
Julies E, Schwartz

EXHIBIT

Perkins Com LLP Es A

 
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OAS (Rev. 1/94) Subpoena ina Civil Case . . sna :

Issued by the
UNITED STATES DISTRICT COURT
_Norhem, pISTRICTOF California si;
Niantic, ine., SUBPOENA IN A CIVIL CASE
V

Global++, et al,
Case Number; 19-cv-03425-UST

TO: Matthew Johnson
972 County Road 523
Poplar Bluff, Missouri 63901

[] you ARE COMMANDED to appear in the United States District court at the place, date, and time specified below to
testify in the above case.

PLACE OF TESTIMONY

 

COURTROOM

 

DATEAND TIME

 

 

 

[x] YOU-ARE COMMANDED to appear at the place, date, and time specified below to testify at the taking of a deposition
in the above case,

 

PLACE OF DEPOSITION

DATE AND TIME
Holiday Inn, 2781 N. Westwood Blvd,, Poplar Bluff, MO 63904

07/47/2026 at 9:00 a.m.

[x] YOU ARE COMMANDED to produce and permit inspection and copying of the following documents or objects at the
place, date, and time specified below (list documents or objects):

 

 

 

 

See Attachment A.
PLACE DATEAND tiME
First Legal c/o Ferrell Court Services LLC, 623 State Hwy H, Sikeston, MO 63801 04/09/22020 at 5:00 p.m.

 

 

['T YOU ARE COMMANDED to permit inspection of the following premises at the date and time specified below.

“PREMISES DATEAND TIME

 

 

Any organization not a party to this suit that is subpoenaed for the taking of a deposition shall designate one or more officers,
directors, or managing agents, or other persons who consent to testify on its behalf, and may set forth, for each person designated,
the matters on which the person will testify. Federal Rules of Civil Procedure, 30(b)(6).

TSSUING OFFICERIS SIGNATURE TITLE (INDICATE IF ATTORNEY FOR PLAINTIFF OR DEFENDANT) DATE
Chute ©. yo 42/31/2019

ISSUING OFEICERIS NAME, ADDRGSS AND PHONE NUMBER

Plaintiff, Niantic, Ine.

Julie Schwartz, 3150 Porter Drive, Palo Alto, California 94304-1212, JSchwartz@perkinscoie.com, (650) 838-4490
(See Rute 45, Federal Rules of Civtl Procedure, Parts C & D on next pate}

 

 

' Faction is pending in district other than district of issuance, stnte district under case number.
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ATTACHMENT A
DEFINITIONS

The following definitions apply to this subpoena.

1. “Action” means the civil action captioned Niantic, Inc. v. Glohal-+-+ et
al., No, 3:19-cv-03425-IST, which was filed on June 14, 2019, and is now pending in the
US. District Court for the Northern District of California,

2. “And” and “or” shall be construed conjunctively or disjunctively as
necessary to make these requests for production inclusive rather than exclusive. The use
of the words “include” and “including” shall be construed to mean “without limitation.”

3, “Any” means one, some, or all of whatever quantity.

4, “AppHaven” means the Person or entity that offers a “next gen code
signing service” and that maintains a Twitter account available at
hitps://twitter.com/apphaven1.

5. “Cheating Program” or “Cheating Programs” includes any computer
program that permits its users to perform unauthorized actions while playing Niantic’s

location-based augmented reality games. The term includes but is not limited to Globali-+

Software.
6. “Complaint” means the Complaint for Damages and Injunctive Relief
“filed in the Action,
7, “Document” js defined to be synonymous in meaning and equal in scope

to the usage of the term in Rule 34(a) of the Federal Rules of Civil Procedure and
includes communications, computer records, and electronically stored information,

8, “Each” shall be read as all and each.

~1-

 

ATTACHMENT A TO MATTHEW JOHNSON SUBPOENA
Case No. 19-cv-03425-ST
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Bh, “Global++” means the group of hackers and other individuals and entities
that is named as a defendant in the Action and that maintained a website at
https://globalplusplus.com (or https://Avww.glabalplusplus.com), as well as all of its
officers, agents, servants, and employees, and Persons acting in concert or participation
With it.

10, “Global++ Software” means all versions of the computer programs
marketed and distributed under the names Potter+ +, Unitet++, PokeGot-+-, Ingress++,
and Ingress Prime+-+-, and all other names used to describe and identify materially
similar programs.

It. “Person” or “Persons” include natural persons, corporations, firms,
partnerships, associations (including unincorporated associations), joint ventures, trusts,
and estates.

12, “POI Data” means data about points of interest in Niantic’s games, such as
names, descriptions, photographs, game states, and specific locations for those points of
interest,

13. “Related to” shall be construed in the broadest possible sense, and shall
mean without limitation and whether in whole or in part: concerning, referring to,
constituting, bearing upon, commenting upon, reflecting, evidencing, pertaining to,
describing, depicting, consisting of, containing, comprising, embodying, identifying,
stating, discussing, analyzing, studying, summarizing, dealing with, relating to, or having
any logical or factual connection whatsoever with the subject addressed, regardless of

whether the factual connection is favorable to or adverse to you.

nn

 

ATTACHMENT A TO MATTHEW JOHNSON SUBPOENA
Case No, 19-cy-03425-JST
Case: 1:20-mc-00002-SNLJ Doc. #: 1 Filed: 01/14/20 Page: 8 of 9 PagelD #: 8

14. “Spawn Data” means ephemeral game information about the type and
attributes of game elements (such as Pokémon) appearing in specific locations in
Niantic’s games.

13. “You,” “Your,” or “Yourself” means Matthew Johnson or—if known by
another name—the individual who controls or is associated with the email address
mattj8290@gmail.com and who responded to legal correspondence from Niantic, Inc, on
Friday, November 1, 2019.

16. The singular includes the plural and vice versa, The masculine includes
the ferninine and neutral genders, The past tense includes the present tense where the
clear meaning is not distorted by change of tense.

DOCUMENT REQUESTS

iE. Produce all Documents related to Global++.

2. Produce all Documents related to Global++ Software.

3 Produce all Documents related to AppHaven, including but not limited to

all Documents related to the registration of the apphaven.org domain name,

4, Produce all Documents related to Ryan Hunt.
oA Produce all Documents related to Alen Hundur.
6, Produce all communications between and among You, Global-+++,

AppHaven, Ryan Hunt, Alen Hundur, and the individual to whom You claim You
“transferred [apphaven.org] to . . . long ago” per Your November 1, 2019 email,

7, Produce Documents sufficient to identify the individual to whom You
claim You “transferred [apphaven.org] to. , , long ago” per Your November 1, 2019

email.

ff

 

ATTACHMENT A TO MATTHEW JOHNSON SUBPOENA,
Case No. 19-cv-03425-IST
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8. Produce all Documents related to all payments made or received by You
or by any other Person, directly or indirectly, including any form of payment or valuable
consideration, in exchange for or in relation to Global-++ Software.

9. Produce all Documents related to all payments made or received by You
or by any other Person, directly or indirectly, including any form of payment or valuable
consideration, in exchange for or in relation to any Cheating Programs,

10. Produce all Documents related to all payments made or received by You
or by any other Person, directly or indirectly, inchiding any form of payment or valuable
consideration, in exchange for or in relation to Niantic’s POI Data and/or Spawn Data.

Il. Produce Documents sufficient to identify all bank accounts or other
financial accounts used to make or receive payments related to Global-+++ Software,

Cheating Programs, or Niantic’s POI Data and/or Spawn. Data.

ails

 

ATTACHMENT A TO MATTHEW JOHNSON SUBPOENA
Case No. 19-cy-03425-JST
